Case 2:02-cv-02878-.]PI\/|-tmp Document 239 Filed 07/27/05 Page 1 of 3 Page|D 303

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UNITED STATES DISTRICT comer
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W OFFN W§MH#S
JARVIS ROBINSON, Individually JUDGMENT IN A CIVIL CASE
and on behalf of the heirs at
law of JEFFREY ROBINSON,
deceased,
Plaintiff,
v-
CITY OF MEMPHIS, MARK LUCAS, CASE NO: 02-2878 Ml/P

ANTHONY BERRYHILL, JEFFREY SIMCOX,
and ALBERT BONNER,

Defendants.

 

JURY VERDICT. This action came for consideration before the Court
for a trial by jury. The issues have been tried and the jury duly
rendered its verdict on October 15, 2004.

IT IS SO ORDERED, ADJUDGED, AND DECREED that, in accordance with
the jury verdict, judgment is hereby entered for Defendant ANTHONY
BERRYHILL and the case is DISMISSED with prejudice as to Defendant
BERRYHILL .

As to Defendants Mark Lucas, Jeffrey Simcox, and Albert Bonner, the
jury entered a verdict in favor of the Plaintiff Jarvis Robinson
and awarded compensatory damages in the amount of $1,248,056.12
against Defendant MARK LUCAS; compensatory damages in the amount of
$10,000.00 against Defendant JEFFREY SIMCOX; and compensatory
damages in the amount of $50,000.00 against Defendant ALBERT
BONNER. On October 15, 2004, the jury also found that the actions
of Defendants Mark Lucas, Jeffrey Simcox, and Albert Bonner were
intentional, reckless, malicious, or fraudulent. The jury rendered
a verdict in favor of the Plaintiff Jarvis Robinson on the
questions of punitive damages and awarded punitive damages in the
amount of $l,BO0,000.00 against Defendant MARK LUCAS; punitive
damages in the amount of $15,000.00 against Defendant JEFFREY
SIMCOX; and punitive damages in the amount of $75,000.00 against
Defendant ALBERT BONNER.

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with Flute 55 and/or 32{b) FRCrP on "

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IT IS THEREFORE ORDERED, ADJUDC-¢‘ED,r AND DECREED that judgment in the
amount of $2,'748,056.12 be and is hereby entered in favor of
Plaintiff Jarvis Robinson and against Defendant MARK LUCAS; said
judgment being comprised of compensatory damages in the amount of
$1,248,056.12 and punitive damages in the amount of $1,500,000.00.

IT IS THEREFORE ORDERED, A.DJUDGED, AND DECR.EED that judgment in the
amount of $25,000.00 be and is hereby entered in favor of Plaintiff
Jarvis Robinson and against Defendant JEFFREY SIMCOX; said judgment
being comprised of compensatory damages in the amount of $10,000.00
and punitive damages in the amount of $15,000.00.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED judgment in the
amount of $125,000.00 be and is hereby entered in favor of
Plaintiff Jarvis Robinson and against Defendant ALBERT BONNER; said
judgment being comprised of compensatory damages in the amount of
$50,000.00 and punitive damages in the amount of $75,000.00.

The Plaintiff and Defendant City of Memphis having settled this
matter:
IT IS SO ORDERED AND ADJUDGED that, in accordance with the Notice

of Settlement filed. July 6, 2005, Plaintiff’s claims against
Defendant CITY OF MEMPHIS are DISMISSED with prejudice.

JO PHIPPS MCCALLA
'I‘ED STATES DISTRICT COURT

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Clerk of Court

 

(By) Deputy Clerk

     

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 239 in
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Honorable J on McCalla
US DISTRICT COURT

